EXHIBIT 11
Rabbi Eliezer Friedman
Ramat Shiomo, Jerusalem, Israel

54-848-1626
The Honorable Brian Cogan
United States District Court Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201
3/26/2021 RE: UNITED STATES v. AARON WEINREB

Docket No.: 1:20-cr-00006-BMC

Dear Your Honor,

My relationship with Aaron Weinreb (| call him Ari) has spanned over three decades. We are
of the same age and first met in 1989, studying in Israel In a post high school program.
Although | was born and raised in Chicago, illinois, and returned back to the US in my late
90's for a short while, | have since lived in Jerusalem, Israel for the last 23 years.

When | first met Ari back so many years ago, | was immediately taken by his outgoing
pleasant personality. His high level of intelligence and ability to master Talmudic studies
came with no air of arrogance whatsoever, On the contrary he was kind, understanding and
patient with everyone. | was pleasantly surprised that he agreed to be my study partner, a
relationship which we maintained for the first two post high school “gap years.” What was
even more surprising and rewarding was that three years later, in the year between when
Ari finished college and before entering medical school, he returned back to Israel for a
year dedicated strictly to Talmudic studies and our relationship as study partners resumed

Two years after that, although | was not able to be present at his wedding, Ari made a
special trip to Chicago to participate in my wedding, and my heart still is warmed by that
gesture. Years passed, | settled in Israel and Ari in New York, Our lives had taken different
courses, | having made the decision to commit to a life of full time Torah study, while Ari
became a highly successful medical doctor, Yet, we kept in touch, though sporadically, from
a distance, thousands of miles away from each other. Though our daily occupations may
have been vastly different, our personal, religious and moral convictions were always fully
aligned.

Roughly 14 years ago, my family and | made a trip to New York for a family wedding, | took
the initiative to give Ari a call, and he excitedly responded that he wanted to come and see
me in person. He got dressed up in his wedding clothes and came down fo the catering hall,
where we had the remarkable opportunity to see each other face-to-face and had a very
enjoyable chat, catching up on each other's lives. He then surprised me with an
unforgettable offer. “Elie, | am monetarily comfortable and | want to help you and your family
financially, please let me,” | was both flattered and impressed with his intuition to sense my
situation, but | turned him down. Instead | made a counter-offer to allow me to establish a
charity fund for others with large families in my Immediate yeshiva community who are
struggling financially. He agreed, and over the last 14 years, over a dozen families have
continuously benefited from the kindness and generosity of Ari and his wife. (The overall
sum that he has donated numbers well into the six digits of dollars.)

The only time | can ever remember not hearing the happy perk that | always heard in Ari's
voice was that phone call, now almost 18 months ago. It was right after that fateful mistake
that he made, and | feared the worse. | heard him say, “Elle, things will never be the same,”
and | believed it. | decided to make a special effort to keep in touch with him on a more
consistent basis over the telephone.

To my pleasant surprise, throughout these many months, from call to call | hear in his voice
rising strength and spiritual growth. His resolve to deal with his new situation with full
humility is to be commended. He has immersed himself in therapy and spiritual growth
through increasing his Torah study.

| have not been surprised at how open Ari has been with me in sharing his past
weaknesses and what he is learning about himself in therapy; how he accepts advise from
anyone and everyone who has what to offer. For another person having been a highly-
respected doctor in the position of giving advice to others, this would be difficult to say the
least, But for Ari, it is typical of who he is. It was never about his ego, but about doing the
right thing.

With the turn of events and the complete loss of his income, Ari has no longer been able to
support the joint charity venture we had established. To be fully honest, all of the families he
had been supporting are deeply religious and somewhat disconnected from popular culture
and the “modern” world, and they may not relate to the sexual and emotional struggles that
their previous benefactor has been struggling with, but they are all thinking about him. We
as a group, pray for him and study Talmud specifically in his merit. We only know him as the
generous (and for that matter, besides for myself, anonymous) kind-hearted person he has
been to us all these years, — |

Please, in judging Ari take Into consideration the person that | have come to know and love.
There is so much more | can say, but | hope | have given you some insight of who Ari is to
me. Please fell free to reach out to me; | would be honored to share more anecdotes of
positivity for my good friend, Ar Weinreb. My number in Israel is 011-972-54-848-1626.

May G-d bless you,

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Jerusalem, Israel

